                                 UNITED STATES DISTRICT COURT

                                 MIDDLE DISTRICT OF TENNESSEE


NIKKI BOLLINGER GRAE, Individually and )                 Civil Action No. 3:16-cv-02267
on Behalf of All Others Similarly Situated, )
                                            )            Honorable Aleta A. Trauger
                             Plaintiff,     )
                                            )            DECLARATION OF CHRISTOPHER M.
      vs.                                   )            WOOD IN SUPPORT OF PLAINTIFF’S
                                            )            OPPOSITION TO DEFENDANTS’ MOTION
CORRECTIONS CORPORATION OF                  )            TO EXCLUDE TESTIMONY OF SCOTT
AMERICA, et al.,                            )            DALRYMPLE
                                            )
                             Defendants.    )                       [FILED UNDER SEAL]
                                            )


        I, Christopher M. Wood, declare as follows:

        1.          I am an attorney duly licensed to practice before all of the courts of the State of

Tennessee and this Court. I am a member of the law firm Robbins Geller Rudman & Dowd LLP,

Lead Counsel for Lead Plaintiff and Class Representative Amalgamated Bank, as Trustee for the

LongView Collective Investment Fund, and the Class in the above-captioned action. This

Declaration is made in support of Plaintiff’s Opposition to Defendants’ Motion to Exclude

Testimony of Scott Dalrymple. I have personal knowledge of the matters stated herein, and, if

called upon, I could and would competently testify thereto.

        2.          Attached hereto are true and correct copies of the following exhibits:

        Exhibit 1:         Deposition transcript of Lucy P. Allen, dated October 14, 2020 [FILED
                           UNDER SEAL]; and
        Exhibit 2:         Deposition transcript of W. Scott Dalrymple, dated October 22, 2020
                           [FILED UNDER SEAL].
        I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed this 22nd day of January, 2021, at Nashville, Tennessee.

                                                               s/ Christopher M. Wood
                                                              CHRISTOPHER M. WOOD


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                                  CERTIFICATE OF SERVICE
        I hereby certify under penalty of perjury that on January 22, 2021, I authorized the

electronic filing of the foregoing with the Clerk of the Court using the CM/ECF system which will

send notification of such filing to the e-mail addresses on the attached Electronic Mail Notice List,

and I hereby certify that I caused the mailing of the foregoing via the United States Postal Service

to the non-CM/ECF participants indicated on the attached Manual Notice List.

                                                   s/ Christopher M. Wood
                                                   CHRISTOPHER M. WOOD
                                                   ROBBINS GELLER RUDMAN
                                                          & DOWD LLP
                                                   414 Union Street, Suite 900
                                                   Nashville, TN 37219
                                                   Telephone: 800/449-4900
                                                   615/252-3798 (fax)

                                                   E-mail: cwood@rgrdlaw.com




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